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7
                               IN THE UNITED STATES DISTRICT COURT
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9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITEDS STATES OF AMERICA,                      )   CASE NO. 1:16-CR-00187 DAD
                                                     )
12                                                   )   ORDER RE: DEFENDANT ROBERT
                                        Plaintiff,   )
                                                     )   GONZALEZ’S REQUEST FOR LEAVE TO
13
                         v.                          )   FILE DOCUMENTS UNDER SEAL
14                                                   )
     ROBERT GONZALEZ,                                )
15                                                   )
                                                     )
16                                  Defendant.       )
                                                     )
17                                                   )
                                                     )
18                                                   )

19          This matter is before the Court on the request of defendant Roberto Gonzalez to file
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     under seal:
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            1. Forensic Nurse Katherine Moreno Opinion dated July 30, 2020 and curriculum
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23                 vitae (Exhibit 9);

24          2. Defendant Robert Gonzalez’s Medical Records from Fresno County Jail (Exhibit
25
                   9A) and
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            3. Body Max Index Calculation for Robert Gonzalez (Exhibit 9B).
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            Based on the sensitive medical issues contained in the confidential medical information
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                                                                                                   1
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 1   contained in these exhibits, it is appropriate that it be filed under seal. Accordingly, the
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     defendant's sealing request is GRANTED. Defendant's motion and exhibits shall be filed
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     under seal.
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